Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 1 of 45




                         EXHIBIT C

 Expert rebuttal report of Stephen Lanchak,

                  dated March 13, 2020

         PUBLIC REDACTED VERSION
Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 2 of 45




                       ORACLE USA, INC., ET AL.

                                  V.

                         RIMINI STREET, INC.

             CASE NO. 2:10-CV-00106-LRH-VCF (D. NEV.)



          EXPERT REBUTTAL REPORT OF STEPHEN LANCHAK

                           MARCH 13, 2020




                           Stephen Lanchak




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                  SUBJECT TO PROTECTIVE ORDER
       Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 3 of 45

                                                   TABLE OF CONTENTS

                                                                                                                                          Page


I.        Qualifications ..................................................................................................................... 1

II.       Assignment and Summary of Opinions ............................................................................. 3

III.      Background ...................................................................................................................... 11

          A.         Industry History ................................................................................................... 11

          B.         The Relevant Products ......................................................................................... 13

          C.         Maintenance and Support of Enterprise Software ............................................... 14

IV.       Analysis............................................................................................................................ 16

          A.         Cloud-Hosting of PeopleSoft Software and Support Materials ........................... 16

          B.     “Cross-Use” and “Distribution” of PeopleSoft and JDE Software and Support
          Materials .......................................................................................................................... 21

          C.         Copying JDE Source Code .................................................................................. 30

          D.         Actions Involving Oracle Database ..................................................................... 40




                                                                          i
   Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 4 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

                                  I.     Qualifications

        1.      Counsel for Rimini Street, Inc. (“Rimini”) retained my services to respond to the

opinions of Oracle’s expert, Barbara Frederiksen-Cross (“Frederiksen-Cross”), by providing

expert opinions related to the historical industry practice and understanding of practices that

Frederiksen-Cross contends are inconsistent with the permanent injunction entered in Rimini I.

See ECF Nos. 1166, 1180; see also ECF No. 1236. As set forth in more detail below (see

Sections II–III), my opinions are based on my decades of experience working with enterprise

software in general and PeopleSoft and JD Edwards (“JDE”) software in particular, and serving as

a trusted advisor for over 60 clients, as a consultant for hundreds more, and as a third party who

worked directly with PeopleSoft, Inc., JD Edwards & Co., and later, Oracle Corporation.

        2.      I am presently an Assistant Director in the Career Management Center at the

Kellogg School of Management at Northwestern University. In this role, I am a member of the

Kellogg Career Management team and have responsibility for career coaching in the Executive

MBA program, where I oversee a team of career coaches and serve as a career and executive coach

for students in the Executive MBA program. I collaborate with Kellogg faculty and staff to set

career management strategies and also work directly with Executive MBA students to develop and

refine their career strategies.

        3.      I worked in management and technology consulting for 33 years, 18 of which were
spent working exclusively with Oracle enterprise software products (including PeopleSoft and

JDE, both pre- and post-acquisition of those companies by Oracle). In my 18 years working

exclusively with Oracle products, I had direct responsibility for services delivery at the clients’

offices. During this time, I worked with over 300 Oracle licensees in various capacities. This

knowledge and experience, as set forth in more detail below, informs my opinions in this report.

        4.      My most recent consulting role was as Senior Vice President of HCL AXON from

2010 to 2014. In this role, I was Oracle Enterprise Resource Planning (“ERP”) practice leader

responsible for global sales and strategy. I jointly oversaw business operations generating more

than $200 million in revenue and was specifically responsible for building a North American and


                                                  1
   Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 5 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

European consulting practice with the goal of leveraging offshore ERP development and support

services capabilities within HCL Technologies. I also led our team’s transition to the cloud by

working with Oracle to build cloud-based ERP solution offerings.

          5.   Prior to this, I was a Partner with MarketSphere Consulting, where I was Midwest

market leader with responsibility for, among other things, Oracle enterprise solutions delivery. In

this role, I was responsible for building a regional presence in the market and with Oracle. To do

so, I hired an Enterprise Solutions team in Chicago and established a productive relationship with

Oracle.

          6.   I also spent over 10 years in various roles at BearingPoint/KPMG Consulting LLP

(“KPMG”), most recently as Vice President. In that role, I served as Oracle Commercial Services

Practice Leader, where I was responsible for Oracle ERP application and technology delivery in

the Life Sciences, Products, Energy, Financial Services, and Communications/Media industries. I

was responsible for North America practice strategy, business development, and client

engagements. I oversaw a team of several hundred people and also had direct responsibility for

client relationships, sales, and project delivery. In addition, I served as Global Oracle Market

Leader, responsible for strategy and leadership of Global Oracle business development, marketing,

and solution development teams. This role involved working with the global teams to make sure

we had consistent sales messages, shared knowledge capital, and supported each other with
resources when needed.

          7.   In addition, while at KPMG (as a Managing Director), I had a leadership role in the

firm’s effort to integrate the separate Oracle software product lines (PeopleSoft, JDE, and Siebel)

into a single North American operating unit once Oracle had completed its acquisition of these

companies.

          8.   Earlier in my practice with KPMG, I served as Practice Managing Director and

Practice Leader with oversight responsibility for nine managing directors and over 240 practice

personnel.




                                                  2
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 6 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

        9.      Prior to joining KPMG, I served as a Consultant and later Associate Partner with

Andersen Consulting/Accenture. With Andersen Consulting/Accenture, I operated as a financial

services systems integration consultant, serving banks and diversified financial services

companies. My practice was primarily focused on technology strategy and planning, systems

development and integration, business process reengineering, and mergers/consolidations.

        10.     I hold Bachelor of Science and Master of Business Administration degrees from

the University of Texas at Austin.

        11.     My curriculum vitae is included as Exhibit A to this report. The hourly rate charged

by Eleven Canterbury for my work on this matter is $800 per hour. I have no financial interest in

the outcome of this post-trial proceeding, nor is payment dependent on any particular opinion

provided.

                     II.     Assignment and Summary of Opinions

        12.     As described in more detail below, I have been asked by counsel for Rimini to

respond to the opinions offered by Frederiksen-Cross and to provide opinions concerning historical

industry practice and understanding as it relates to support and maintenance of PeopleSoft and

JDE, two enterprise software applications for which Rimini offers and provides support to its

clients. I have also been asked to respond to Frederiksen-Cross’s opinions concerning Oracle

Database, as those opinions concern Rimini’s support of clients that operate PeopleSoft and JDE
applications that interface with Oracle Database software.

        13.     I have reviewed the permanent injunction issued in Rimini I (as narrowed by the

Ninth Circuit, which I refer to as the “Injunction”); Oracle’s June 28, 2019 letter, which

“describ[es] conduct disclosed in Rimini II … which Oracle contends would violate Judge Hicks’

injunction if it continued after the injunction was effective”; Rimini’s August 5, 2019 response to

that letter; the Ninth Circuit’s August 16, 2019 opinion on Rimini’s appeal of the Injunction;1

Oracle’s August 16, 2019 letter purporting to modify its June 28, 2019 letter based on the Ninth



 1
     Oracle USA, Inc. v. Rimini Street, Inc., 783 Fed. App’x 707 (9th Cir. 2019).


                                                   3
    Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 7 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

Circuit’s opinion; and the January 31, 2020 “Post-Injunction Report” of Frederiksen-Cross. I also

incorporate by reference my expert reports in Rimini Street, Inc. v. Oracle International Corp. et

al., Case No. 2:14-cv-1699 (“Rimini II”), and the documents considered in connection with those

reports. I have also had access to materials exchanged both in Rimini II and this post-trial

proceeding. In addition to the materials identified in my Rimini II expert reports, I also identify in

Exhibit B to this report those materials I received, examined, or reviewed in preparing my opinions

in this report.

        14.       In her report, Frederiksen-Cross opines that Rimini violates the Injunction in

several ways. For purposes of my analysis in this report only, I have generally grouped my

discussion of the practices she discusses into the following four categories: (i) cloud-hosting

PeopleSoft software and support materials; (ii) so-called “cross-use” and distribution of PeopleSoft

and JDE software and support materials; (iii) copying JDE source code; and (iv) activity involving

Oracle Database.

        15.       It is my understanding, based on my professional judgment and decades of

experience in the ERP implementation, maintenance, and support industry, that certain terms and

practices have a common understanding and meaning among software providers, third-party

support providers, and other relevant parties. My opinion, informed by my own professional

experience and consideration of the materials I reviewed, is that the conduct that Frederiksen-
Cross claims violates the Injunction in this post-trial proceeding includes practices that are and

have historically been widely understood and accepted in the industry as permissible uses of

enterprise software under relevant ERP software licenses, including in the context of receiving

third-party support for or self-supporting the relevant software products. Moreover, as discussed

further below, the conduct that is the subject of Frederiksen-Cross’s opinions in her post-trial

expert report includes conduct that was never at issue or adjudicated in Rimini I. Further, it is my

opinion, based on my professional experience and consideration of the materials I reviewed, that

the industry would not understand the Injunction to prohibit the practices that Frederiksen-Cross




                                                    4
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 8 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

claims it prohibits, because such practices are and have historically been widely understood and

accepted in the industry.

        16.     The following is a summary of my opinions as they relate to the practices

Frederiksen-Cross contends violate the Injunction:

        Cloud-Hosting of PeopleSoft Software and Support Materials.
        17.



                                                             .2 I am aware of this Court’s orders

regarding local hosting on Rimini systems, which is different from the cloud hosting discussed in

Frederiksen-Cross’s report. It is my understanding that Oracle never claimed that cloud hosting

infringed its copyrights in Rimini I and that this issue is being raised for the first time in this case

in the context of this post-trial proceeding.

        18.     In my experience, licensees of ERP software host their software (as well as

documentation and related materials) on computing resources in various locations according to

their business needs. These locations may include, for example, computing resources that

licensees own that are located at the licensees’ physical place of business (e.g., a licensee’s servers

located at the licensee’s headquarters), computing resources that licensees own (or lease) that are

located at a location owned (or leased) by a third party (e.g., a licensee’s servers located at a third-

party data center), and computing resources that licensees lease that are located at a third-party

cloud provider (e.g., a licensee’s virtual servers hosted in the provider’s cloud infrastructure).

There are no inherent functional differences between the licensee’s computing resources in any of

those locations, although there are often significant advantages for licensees to use cloud-based

computing resources (e.g., cost savings, efficiency, performance, security, and scalability). When

licensees host their software in the cloud (or at any third-party location such as a data center), it is

standard industry practice for those licensees to retain control over, access to, and use of that



 2
     Frederiksen-Cross Rep. ¶ 38.


                                                     5
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 9 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

software. In every meaningful sense, a licensee’s cloud computing resources are its “own

computer systems.”3     Because of its advantages, for many years, the industry has moved

increasingly toward cloud-based hosting. Oracle, in fact, encourages licensees of Oracle software

(including PeopleSoft) to host their software in the cloud, and the industry understands that

licensees are permitted to do so. Oracle and other third-party support providers (i.e., Rimini’s

competitors) offer and provide support services to licensees that host their Oracle software on

cloud computing resources. To my knowledge, Oracle has never taken the position (other than in

Rimini II and this post-trial proceeding) that a licensee is not permitted to host Oracle software on

the licensee’s cloud-based computing resources.

        19.     Thus, and as discussed in more detail below, see Section IV.A, it is my opinion,

based on decades of work in this field, and the materials I have reviewed in this post-trial

proceeding and in Rimini II, that PeopleSoft licensees understand that hosting their software in the

cloud (including Windstream’s cloud) is not prohibited by their licenses, and that in every

meaningful sense, their cloud computing resources are their own computer systems. The industry

would therefore understand the phrase “own computer systems” in paragraph 5 of the Injunction

to include cloud computing resources.

      “Cross-Use” and “Distribution” of PeopleSoft and JDE Software and Support
Materials.
        20.




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 3
     Injunction ¶ 5.
 4
     Frederiksen-Cross Rep. ¶¶ 40, 44.


                                                   6
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 10 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY




        21.    I disagree with these opinions for a number of reasons. In my experience, “cross-

use” is not a term generally used in the industry, and, in my opinion, Frederiksen-Cross’s broad

use of this term covers many widely accepted and common application support processes in the

industry. For example, in my experience, it is a common and accepted software development

practice for a consultant or software support engineer to create a “spec” document or instructions

after creating a fix or update for a licensee in the licensee’s environment, and then to rely on that

“spec” document or instructions to create updates or fixes for other clients operating the same or

similar software. It is also my opinion that it is a common and accepted industry practice for

consultants and support engineers to leverage knowledge and experience gained while working for

one client to implement similar or identical fixes or updates to other clients operating the same or

similar software. Consultants and support engineers also develop their own internal work product

reflecting that knowledge, and will use that work product to solve similar or identical problems for

other clients. Other third-party support providers (i.e., Rimini’s competitors) engage in (and have

long engaged in) these practices. It is my opinion that prohibiting a consultant or support provider

from leveraging her knowledge and experience gained from one client for use with other clients

would be impractical and unworkable in the real world, and would effectively prohibit third-party

support altogether. Consultants cannot unlearn the experience and knowledge they gain from

servicing clients (or refrain from getting better and faster at their jobs as they do). It is also not

standard industry practice, and it would be commercially impractical, for service providers to be

prohibited from documenting their experience and knowledge, or developing their own tools,

instead forcing them to reinvent the wheel for every client.

        22.    Thus, and as discussed in more detail in Section IV.B, it is my opinion, based on

my experience and the materials I reviewed in this post-trial proceeding and in Rimini II, that the



 5
     See, e.g., id. at ¶¶ 188–194, 206–208, 283–289, 301–302, 304.


                                                    7
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 11 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

industry understands that developing and testing updates for a small set of customers (or a single

customer), and then using such knowledge and experience to implement updates for other

customers operating the same or similar software is common and accepted practice. It is also my

opinion that a software engineer’s creation and use of work product reflecting knowledge and

experience gained in resolving a problem for one client, and using that work product in connection

with development work for other clients, is common and accepted industry practice that the

industry understands to be permissible under the terms of the software licenses. For all of these

reasons, the industry would not understand the Injunction, as Frederiksen-Cross interprets it, to

prohibit these practices.

         Copying JDE Source Code.
         23.




         24.        Frederiksen-Cross’s opinions cannot be reconciled with industry understanding and

standard industry practice. As a preliminary matter, Frederiksen-Cross

                                              but fails to acknowledge that the term can have different

meanings in different contexts, and fails to address the specific language and context here,

including the Court’s use of the phrase: “J.D. Edwards software source code”9—i.e., the source

code of the J.D. Edwards software program, and not “source code” generally, or in the abstract.

Frederiksen-Cross’s opinions thus ignore the fundamental aspects of JDE software, including that


 6
     Frederiksen-Cross Rep. at 113, ¶¶ 305–306.
 7
     Id. at ¶ 46.
 8
     See id. at ¶ 313.
 9
     Injunction ¶ 8 (emphasis added).


                                                      8
   Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 12 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

JDE was designed to be customized by the licensee (or a third party acting on the licensee’s behalf),

that there are multiple types and levels of JDE code—including “Open” and “Closed” Code,

defined further in paragraph 69 below—and that the intended customizations, as well as

meaningful support of JDE, requires copying and modification of the “Open” Code portions of

JDE software.

                          contrary to the industry understanding and meaning of JDE software.

Further, and as discussed further below, see Section IV.C, it is my opinion that the industry would

understand the Injunction’s prohibition against “copy[ing] J.D. Edwards software source code to

carry out development and testing of software updates” as prohibiting only the decompiling of

JDE Closed Code, and not, as Frederiksen-Cross contends, accessing or copying JDE Open Code.

       25.

                                                                                                   is

inconsistent with the way in which the industry understands that Oracle licensees may use their

JDE software, and reflects a misunderstanding of how the software itself operates. In my

experience, it is widely understood in the industry that creation of RAM copies of JDE software

by a licensee, or by a licensee’s third-party support provider, is a permissible use of JDE software.

In fact, the industry understands the creation of RAM copies (i.e., copying software “into computer

memory”) to be a necessary function of the software itself, and to occur any time the software is

operated.

                                                                        is inconsistent with industry

practice concerning how licensees and their third-party support providers use JDE software, and

would also effectively preclude Rimini from providing support for JDE altogether because it is

impossible to support JDE clients without loading their software “into system memory” (i.e.,

without making RAM copies). My understanding, based on the history and common use of third-

party support in the industry, as well as from statements in the Ninth Circuit opinion and from the

district court in the Injunction itself, is that third-party support is permitted. For example, there

are provisions in the Injunction addressing how Rimini can or cannot “distribute,” “reproduce,


                                                   9
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 13 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

prepare derivative works from, or use” JDE software or documentation.10 The fact that the

Injunction limits the manner in which Rimini can provide support—but does not prohibit it

altogether—is consistent with my understanding and experience in the industry that third-party

support is widely accepted. For all of these reasons, it is therefore my opinion that the industry

would not understand paragraph 8 of the Injunction to prohibit in-memory copies of JDE software

(i.e., copying “into system memory”).

        Actions Involving Oracle Database.
        26.




                          I disagree. Based on my decades of experience in the field, and the

materials I reviewed in this proceeding and in Rimini II, my opinion is that the industry would
understand a prohibition on “reproduction” to pertain to the creation of unlicensed instances of

Oracle Database, and not the creation of in-memory copies.

        27.     Based on my review of records in the post-trial proceeding, I understand that Oracle

did not contend in Rimini I that in-memory copies (i.e., RAM copies) of Oracle Database

constituted copyright infringement. Instead, Oracle argued in Rimini I that Rimini could not host

on its own servers instances of Oracle Database downloaded from Oracle’s websites pursuant to a

“developer license” or as authorized by Rimini’s clients (Oracle licensees), and also that Rimini

could not make copies of “locally hosted” environments of Oracle Database or use “locally hosted”

environments to develop software updates that were distributed to multiple clients.12 Frederiksen-

Cross offers no evidence or opinions in her report on these Rimini I arguments.



10
     See Injunction ¶¶ 7, 9–10.
11
     Frederiksen-Cross Rep. ¶ 358.
12
     See Rimini I, ECF No. 417 (Oracle Motion for Summary Judgment).


                                                  10
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 14 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

        28.    In my experience, the industry does not understand the creation of in-memory

copies (i.e., RAM copies) of Oracle Database to be in conflict with Oracle’s software licenses, nor

does the industry consider the creation of RAM copies to otherwise violate Oracle’s intellectual

property rights. To the contrary, the creation of RAM copies is widely considered to be a necessary

function of a user’s (or third-party support provider’s) use of the software because any time a user

of Oracle Database loads the software (whether to support the software or simply to operate it),

RAM copies are made. In other words, the software cannot function without creating RAM copies,

and the creation of RAM copies is understood in the industry to be a necessary function of Oracle

Database software.

                           is not only inconsistent with industry understanding, but it would also

effectively prohibit Rimini from supporting any ERP application that uses or relies on Oracle

Database, even applications that were not at issue in Rimini I, such as non-Oracle applications

developed by other companies (e.g., SAP). And, again, it is my understanding, based on the history

and common use of third-party support in the industry, as well as from statements in the Ninth

Circuit opinion and from the district court in the Injunction itself, is that third-party support is

permitted. It is my opinion that the industry would not understand the Injunction to prohibit the

creation of in-memory copies of Oracle Database as Frederiksen-Cross claims in her report.

        29.    I may have additional opinions and conclusions as I receive additional information,
including in response to any opinions offered by any expert witness put forth by Oracle. I reserve

the right to supplement and modify the opinions in this report.

                                   III.    Background

A.      Industry History

        30.    The Background section of this report is intended to set forth facts that describe the

industry and provide context for my opinions, including an overview of the history of the relevant

industry players and the products they developed, the general industry understanding of the text of

Oracle licenses for PeopleSoft and JDE, as well as background on support and maintenance

practices for those products.


                                                  11
   Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 15 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

       31.     Both PeopleSoft and JDE, the applications at issue in this proceeding, were

designed, developed, and supported by companies other than Oracle prior to the early 2000s. The

applications were developed at different points in time, beginning in the late 1970s, to address

different enterprise business needs.

       32.     ERP had its origin in the early 1980s, when it was called Material Requirements

Planning (“MRP”) and later Manufacturing Requirements Planning (“MRPII”); it originated as

software focused on automating the end-to-end manufacturing process. Over time, businesses

began shifting focus from the manufacturing process and began applying these concepts to the

broader enterprise with an emphasis on “back-office” business processes (meaning those focused

on core business support processes), such as finance, human resources, supply chain, procurement,

and payroll. The drivers for this expansion included a desire to manage day-to-day business

activities on an integrated basis and to provide a “single source of the truth” (i.e., the practice of

structuring information models and data schemes in a manner that results in all elements of data

being stored once). Other benefits of ERP included lower costs through more efficient operations,

improved business insights by being able to analyze data on an aggregate basis, reduced risk by

having better control over data, and more efficient support of computer systems.

       33.     Both PeopleSoft and JDE were highly customer-focused, with early customers of

these companies having latitude in determining how their software would operate and what
functionality future releases would contain. Customer and vendor personnel often worked side-

by-side in trouble-shooting and supporting the new software.

       34.     In the 1970s, 1980s, and 1990s, Oracle was primarily a database software company.

       35.     After 2000, the industry began to change. ERP vendors had to deal with a market

downturn, and a new focus on the internet, new internet architectures, and “e-business”

applications to take advantage of the new internet architectures. Also, at this time, there was a

shift in focus to “front-office” (market-facing applications) automation, industry specialization,

and using ERP and the “back-office” only as an e-commerce backbone for new application

development and acquisitions.


                                                   12
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 16 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

         36.     The post-2000 period was also a time of consolidation. PeopleSoft merged with

JDE in the early 2000s. Oracle then acquired PeopleSoft (and, as a result, JDE) shortly thereafter.

Over the next approximately five years, Oracle acquired additional companies operating in this

sphere such as Retek, BEA Systems, and Sun Microsystems.

B.       The Relevant Products

         37.     JD Edwards. The JDE product line originated as a suite of enterprise applications

geared for small- and medium-sized businesses running on IBM minicomputers (“World” product

line). This line was expanded in the 1990s to include a platform-independent version called

“OneWorld,” and, since the Oracle acquisition, is now known as “EnterpriseOne.” This software

line is wide-ranging and includes Financial Management, Project Management, Asset Lifecycle

Management, Order Management, Manufacturing, Human Capital Management, Supply Chain,

etc. Oracle provides JDE licensees with Object Management Workbench (“OMW”), which is a

development tool that licensees can use to customize and maintain their software. JDE is generally

suited     for    medium-sized      companies     in    asset-intensive   industries,    including

manufacturing/distribution, construction, and consumer goods.

         38.     PeopleSoft Enterprise. The PeopleSoft Enterprise software line includes Human

Capital Management, Financial Management, Customer Relationship Management, Enterprise

Performance Management, Supplier Relationship Management, Supply Chain Management,
Public Sector, and Campus Solutions, to name a few. PeopleSoft’s market niche has generally

been service-oriented companies, higher education, and federal, state, and local governments.

Oracle also provides PeopleSoft licensees with PeopleTools—a set of reporting and software

development tools that licensees can use to tailor their software products to their unique business

requirements. PeopleSoft was designed to operate on a variety of relational databases.

         39.     Both PeopleSoft and JDE are highly configurable applications, allowing licensees

to tailor the software to their individual business needs. Customizations are also common,

expected, and frequently necessary in the industry because the software is built to cover a wide

variety of customers that operate in very different industries with very different business models.


                                                  13
Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 17 of 45
   Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 18 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

       42.     In addition to selling licenses for the use of its software lines, Oracle also sells

separate contracts to maintain and support the software (frequently referred to as “maintenance

contracts” or “support contracts”). These contracts entitle customers to receive Oracle-created

upgrades, patches (i.e., a piece of software that is created in order to update another piece of

software/program to either fix an issue within the program or to improve it), and periodic Tax,

Legal, and Regulatory (“TLR”) updates for Oracle’s software, as well as break/fix support services

(i.e., a method of providing support to customers on an incident-by-incident basis as errors and

problems arise while the customer utilizes the product).

       43.     In my experience, although a licensee is not required to receive support from

Oracle—and can instead “self-support” the software or contract with a third party for support—

most licensees contract with Oracle for support. As long as a licensee has an active Oracle support

contract, Oracle allows the licensee to continue to upgrade to the latest software versions as they

are released. When customers decide that they are satisfied with older, customized—and, in some

cases, more stable—versions of Oracle’s products, the customer may choose to retain those older

versions of the software. However, as a version ages, Oracle limits its support and maintenance

for that version. This process involves Oracle offering declining levels of support services to

licensees that elect not to update to the current version of the software.

       44.     In my experience, it is commonly understood in the industry that licensees of Oracle
enterprise software that wish to continue using older versions of software, and/or to operate

customized versions of the software, must either pay Oracle to upgrade to a newer version (if the

customer wants to continue to receive Premier or Extended Support from Oracle) and risk losing

customizations, or terminate their support contracts with Oracle and either self-support or contract

with a third party for support.

       45.     As an alternative to Oracle or self-support, it is standard industry custom and

practice for Oracle licensees to contract with third-party support providers to serve their needs.

Rimini is one of those third-party support providers.




                                                   15
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 19 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

                                        IV.   Analysis

A.      Cloud-Hosting of PeopleSoft Software and Support Materials

        46.




                                                                4


        47.     I am aware that paragraph 5 of the Injunction states that Rimini may not “reproduce,

prepare derivative works from, or use PeopleSoft software and documentation on, with, or to any

computer systems other than a specific licensee’s own computer systems.”15 I am also aware that

some legacy PeopleSoft licenses permit licensees to install software only at the “Licensee’s

facilities” (sometimes referred to as a “facilities restriction”).16 I am also aware of this Court’s

orders regarding local hosting on Rimini systems, which is different from the cloud hosting

discussed in Frederiksen-Cross’s report. Frederiksen-Cross contends that a licensee’s cloud-based

computing resources do not constitute that licensee’s “own computer systems,” but in my

experience, such a position is contrary to the industry understanding (including the understanding

of licensees and other third parties) of the terms of their software licenses. For many years, the

industry has moved increasingly toward cloud-based hosting, and today it is common for licensees

to host their ERP software in the cloud. Given the multitude of hosting options available today,

as well as the ubiquity of the cloud in general, customers have not generally interpreted a “facilities

restriction” to prohibit cloud-hosting. To the contrary, the industry understands that, in every

meaningful sense, a licensee’s cloud computing resources (i.e., its virtual servers) are its own

systems, and industry practice reflects this understanding.




14
     Frederiksen-Cross Rep. ¶ 38.
15
     Injunction ¶ 5 (emphasis added).
16
     See, e.g., ORCLRS0162791; ORCLRS1300162.


                                                    16
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 20 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

        48.    As discussed earlier in the summary of my opinions, in my experience, licensees of

ERP software host their software (and related documentation and materials) in a variety of

locations according to their business needs, which can include hosting them at their own physical

place of business, or renting space from a third-party provider at the provider’s data center or in

the cloud. There are no inherent functional differences for a licensee between hosting the software

at the licensee’s physical place of business or hosting it remotely at a third-party data center or in

the cloud. Some licensees may prefer to contract with a third party to host their software for cost

or other reasons. It is industry practice for licensees to retain control over, access to, and use of

their software whether they host it themselves or contract with a third-party to host it for them.17

        49.    Based on my experience in the industry, I know that a licensee’s choice to remotely

host its software can be beneficial to that licensee in a number of ways. For instance, many cloud

servers generally maintain a 99.9% “uptime,”18 which most licensees cannot match with the

servers at their physical place of business. Additionally, by using the cloud, a licensee can pay for

only the server and capacity it uses, which can lead to lower costs. And by hosting in the cloud or

third-party data centers, a licensee is not responsible for equipment purchases or operating costs.

Oracle itself offers and provides support services to licensees that host their Oracle software on

cloud computing resources. The materials I reviewed in this proceeding and in Rimini II support

my understanding of industry practice by showing that Oracle agrees that use of the cloud provides

benefits to licensees relating to price and convenience, among other things. For example, in her

deposition, Safra Catz, Oracle’s CEO, identified benefits of hosting on the cloud, explaining,

“another provider is handling your daily maintenance. And also, it’s up and running so you don’t

have to buy your own computers.”19 Ms. Catz concluded that hosting on the cloud “may be




17
     See, e.g., Waide Dep. (10/17/19) 34:10–35:6, 36:18–37:16.
18
     Depending on the type of service, the service-level agreements (“SLAs”) can vary, but
     generally at a minimum, it must be 99.9% to be competitive in the market.
19
     Catz Dep. (2/16/18) 68:11–22.


                                                   17
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 21 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

cheaper. It may be easier.”20 This testimony is consistent with how the industry understands the

benefits of cloud hosting.

        50.     As one example of the industry’s understanding on the permissibility of cloud

hosting, I previously participated in conversations with Des Moines Water Works—one of the

businesses referenced in Frederiksen-Cross’s report as being “associated with Windstream

environments”21—concerning hiring a third party to host their PeopleSoft applications. Based on

my observations and conversations at the time, it was clear that PeopleSoft was aware that these

conversations were occurring and had expressed no concerns about third-party hosting of its

applications, and neither Des Moines Water Works, nor any of the other parties involved,

understood PeopleSoft licenses to preclude this third-party hosting.

        51.     In addition to my own experience and knowledge, the documents and deposition

testimony I reviewed in this post-trial proceeding and in Rimini II confirm that it is industry custom

and practice for licensees to host software in third-party data centers or in the cloud, and to consider

these data centers or cloud locations to be their own computer systems.

                a.      As one recent example, current Rimini client Easter Seals testified that it

                considers its Windstream cloud account to be its own computer system.22 And, the

                testimony from Windstream itself is that its customers’ cloud accounts are the

                customers’ own computer systems.23

                b.      The deposition testimony of current and former Rimini clients in Rimini II

                confirms that licensees hosted their software in many different locations. For

                instance, UNICOM Government testified that


20
     Id. at 68:23–24.
21
     See Frederiksen-Cross Rep. ¶ 177.
22
     Hoyt Dep. (9/20/19) 20:19–21 (“Q. So, going back then, because you purchased it, do you
     consider it to be your system? A. Yes.”).
23
     Waide Dep. (10/17/19) 37:18–20 (“Q. And so would you consider that cloud account part of
     the client’s computing resources? A. Yes.”).


                                                    18
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 22 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY




                                                                                      And Fundamental

                Administrative Services migrated its PeopleSoft environments to AT&T for

                hosting, with the understanding that this was permitted under its license.27

                c.




                          Additionally, documents indicate that Support Revolution, which is also a

                third-party support provider, offers “a Cloud hosting capability based on Amazon

                Cloud” to its clients, and that Oracle is aware of this practice.30




24
     Roudebush Dep. (2/27/18) 22:3–24:11.
25
     Jameson Dep. (7/12/17) 121:8–122:24.
26
     Myers Dep. (1/27/17) 152:3–7.
27
     Metcalfe Dep. (2/28/18) 23:14–24:10; 25:17–26:7; 33:18–34:25; 35:13–36:17. Oracle
     contends that it could not locate a copy of Fundamental Administrative Services’ license, but
     represented that it was the same as the City of Flint’s, which included a facilities restriction.
28
     Brua Dep. (1/23/17) 83:11–84:15.
29
     Id. at 83:24–84:2.
30
     ORCLRST00606019; see also Third-Party Maintenance: Simple, Really!, E-3 Magazine (June
     11, 2019), https://e3zine.com/2019/06/11/third-party-maintenance-support/ (interview with
     Mark Smith, CEO of Support Revolution, in which he notes that “we offer a number of valued-


                                                    19
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 23 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

                d.       Moreover, the materials I reviewed in this proceeding show that Oracle

                itself is aware and has approved of customers hosting their Oracle software in the

                cloud.




                                                            Oracle’s Chief Executive Officer, Safra

                Catz, agreed that a customer can use its existing Oracle licenses for various ERP

                applications, including PeopleSoft, to run its applications on the Amazon cloud.32

                e.       My review of this deposition testimony also revealed that Oracle was made

                aware, through audits it conducted, of companies utilizing third-party hosting

                facilities, and that Oracle did not object to the practice, which is consistent with

                industry practice and understanding.33 For example, UNICOM testified that it

                understood it was “permitted, under its license agreements, to host its PeopleSoft

                software in a cloud environment,” and that it did, in fact, do so.34 During the course

                of an Oracle audit, UNICOM disclosed the location of its servers to Oracle, and

                Oracle never “raise[d] any objection to the location of those servers.”35 This

                testimony is consistent with, and further supports, my understanding that it is

                industry custom and practice for Oracle licensees to host their software in the cloud

                and other third-party data centers.




     added services that Rimini Street does not, including Cloud Hosting for SAP and Oracle
     products”).
31
     Ellison Dep. (2/27/18) 82:17–83:5.
32
     Catz Dep. (2/16/18) 83:16–84:3.
33
     Roudebush Dep. (2/27/18) 45:9–24.
34
     Id. at 44:18–22; 24:8–11.
35
     Id. at 45:9–24.


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Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 24 of 45
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 25 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

software packages. The industry understanding of such language was not,

           that it restricted or prevented third-party support providers from leveraging their know-

how, customizations, or other work product in support of multiple licensees/clients.

        55.     As noted above, the term “cross-use” is not generally used in the industry, and I

was not aware of the term until my work on Rimini II. My understanding, based on review of the

materials in Rimini II and this post-trial proceeding, is that Oracle coined this term for purposes of

the litigation against Rimini. This understanding is bolstered by the fact that, based on my review

of the records, Oracle has radically expanded its definition of “cross-use” over time from Rimini I

to Rimini II. In Rimini I, Oracle defined “cross-use” to mean “the use of one customer’s licensed

software to support other customers.”39 In its initial motion for a permanent injunction, Oracle

expanded this definition to “the copying and use of one customer’s licensed software and

derivative works to support other customers in violation of the customer’s license.”40 Oracle now

uses an even further expanded definition of the term, contending that many additional processes

common to the enterprise software implementation and support industry constitute “cross-use.”

        56.     For example, Oracle claims that it is “cross-use” to “develop[] … software updates

(including both code and documentation)” for PeopleSoft and JDE software “using one or more

environments associated with a small number of customers, and then provid[ing] those updates to

and for the benefit of multiple customers.”41 I understand that in Rimini II, Oracle also has stated

that it would be impermissible for a Rimini engineer to use expertise or knowledge gained from

developing an update for one client in that client’s system to fix a similar issue for other clients (in




39
     Rimini I, ECF No. 417 (Oracle Motion for Summary Judgment) at 1.
40
     Rimini I, ECF No. 900 (Oracle Motion for Permanent Injunction) at 1.
41
     Letter from John A. Polito, Counsel, Oracle, to Mark A. Perry, Counsel, Rimini (June 28,
     2019) at 1–2.


                                                    22
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 26 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

those clients’ systems).42 In my career, we developed implementation and support methodologies

that leveraged a knowledge repository and instructions for its use across clients. We generally

referred to this process as “reuse.”




        57.



                                                                               .43




Based on my experience in the industry, I know that grouping clients for testing purposes is a

leading practice among support providers. Throughout my career providing Oracle application

services, it was common to employ testing techniques similar to the “short” and “long” testing that

Rimini uses in some instances. For example, in my previous work experience, it was common to

utilize a testing lifecycle comprised of Unit, String, Integration, and User Acceptance Testing for

many of the objects being developed.44 It was also common to utilize an object from a shared

repository that had already been developed and tested for another client. In these cases, the support



42
     Rimini II, ECF No. 925-1 (Frederiksen-Cross Dep. Tr.) at 232:7–234:21 (testifying that it is
     “cross-use” for an employee to use knowledge gained supporting Company A’s Oracle
     software to support Company B).
43
     Frederiksen-Cross Rep. ¶¶ 41, 100.
44
     Tom Mochal, Integration Testing Will Show You How Well Your Modules Get Along,
     TECHREPUBLIC            (Sept.           10,           2001,         12:00          A.M.),
     https://www.techrepublic.com/article/integration-testing-will-show-you-how-well-your-
     modules-get-along/.


                                                   23
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 27 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

providers would “short” test these repository objects by only including them in Integration testing

because they had already been Unit and String tested. Testing resources were also grouped by

software version so that, for example, common test scripts and testing procedures could be

developed for PeopleSoft 9.1 and other ERP software versions.

        58.      Further, in my experience, prototyping in a single environment, often called a

“sandbox,” is a development technique regularly performed by support providers, including many

Oracle partners.45 These sandboxes would be maintained at the client sites and also within the

service provider firm. For example, in my previous work experience, we maintained dozens of

sandbox/solution/demo environments for Oracle software products on our own servers. Many

support providers, especially those engaged in Application Development Management, will group

together clients that have the same or similar code. It is common for implementation and

application management providers to design and develop code, pseudocode, technical and

functional specifications, and other components, including test scripts, configuration guides, and

upgrade scripts, in one client’s environment. This information is then transferred to the provider’s

knowledge repository and is used to support other clients. These practices are prevalent throughout

the industry.




                The driver behind this initiative, and similar initiatives from other support providers,

is that the best ideas and reusable solutions evolve from real client situations.

        59.      I understand from my review of materials that Rimini’s process of implementing

TLR updates for its PeopleSoft and JDE clients can involve creating scripts, which are used to




45
     See, e.g., Development Sandboxes: An Agile ‘Best Practice,’ AGILE                           DATA,
     http://www.agiledata.org/essays/sandboxes.html (last visited Sept. 2, 2019).


                                                     24
Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 28 of 45
Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 29 of 45
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 30 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

        62.     That it is common industry practice to leverage knowledge and experience to

provide similar or identical services to multiple clients is further supported by the testimony of

current and former Rimini clients.

                a.




                b.        Similarly, Toll Brothers testified that it knew TLR updates would not

                necessarily be developed initially on its environments. The company’s corporate

                representative, Ms. Myers, testified that TLR updates “would be applied to any

                customer, not just Toll Brothers” so Rimini “wouldn’t develop the solution on our

                code.”58      Her understanding of this was based on “[n]ormal software

                development.”59 Ms. Myers further testified that it would be reasonable for any

                software developer to “use original work that’s created for one client on a software

                code for another client with the same product.”60

                c.        Snelling Holdings’ corporate representative also testified that it would not

                be “objectionable” to the company if a Rimini engineer wrote new code for a TLR




56
     Sullivan Dep. (3/27/17) 95:17–24.
57
     Id. at 97:22–98:3.
58
     Myers Dep. (1/27/17) 93:6–9.
59
     Id. at 92:23–25.
60
     Id. at 147:3–9.


                                                     27
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 31 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

                update and then used that knowledge and experience to provide similar updates to

                Snelling.61

        63.




                                           I disagree with these opinions.

        64.     Based on my experience in the industry, and my review of materials produced in

this proceeding, Dev Instructions are a type of “spec” (specification) document, the use of which

is a common and accepted software development practice. “Spec” documents serve as a blueprint

for implementing an update or other solution to a problem. Consultants and support engineers can

and commonly do use “spec” documents created from an update or fix for one client to create

updates and fixes for other clients operating the same version of the software. Reusing assets and

developing functional and technical “specs” based on our expertise working with Oracle enterprise

software products was a large part of the practice development activities performed throughout my

career and, in particular, a large part of the application maintenance and support practice at HCL

Technologies. Third-party support providers, such as Application Support and Maintenance

providers, often build, use, and maintain similar tools that allow them to create, deliver, and

transport their own assets and IP between clients. For example, in my previous work experience

at HCL Technologies, we used a series of tools that fall under a framework called MASTTM 2.0




61
     Coffel Dep. (12/14/16) 61:1–6.
62
     Frederiksen-Cross Rep. ¶¶ 98–107.
63
     Id. at ¶¶ 100–102.


                                                 28
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 32 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

(Managed Application Services Tools).64 One tool within MASTTM 2.0 assists the support

provider with modifications, data conversion, and identifying customized code. Another tool is

used as an internal knowledge management portal that allows client account teams to upload

information into a repository for use across other clients.

        65.    The alternative to the model Frederiksen-Cross claims violates the Injunction

would be for third-party support providers to needlessly recreate common and reusable pieces of

code, scripts, and tools from scratch for each and every client. In my experience, this model would

be commercially impracticable, requiring engineers to somehow forget the knowledge and

experience they gain in servicing multiple clients, or requiring the siloing of engineers such that

each engineer services one, and only one, client—forever. Third-party support would effectively

be prohibited with respect to Oracle software (which, of course, would benefit Oracle financially

by eliminating competition in the support market). Based on my industry experience, I believe

that under Frederiksen-Cross’s definition, even Oracle’s partners that perform Application Support

and Maintenance will be at risk of claims that they have violated Oracle’s copyrights, including

Infosys, Tata Consultancy Services, Accenture, IBM Global Business Services, HCL, Wipro,

Cognizant, Deloitte, PwC, and Cap Gemini, to name a few.

        66.    It is my opinion, based on my experience in the industry and review of materials in

this post-trial proceeding, that “cross-use” (as it has been interpreted more broadly and expansively

over time by Oracle in Rimini II and in this proceeding) is in fact a common and necessary industry

practice to maintain ERP software. It is also my opinion that the industry would not understand

the Injunction to prohibit developing and testing updates for a small set of customers (or a single

customer), and then providing those updates to other customers operating the same or similar

software, nor would the industry view the Injunction to prohibit creation and use of work product

reflecting knowledge and experience an engineer gains in resolving a problem for one client for

later use in connection with development work for other clients.


64
     Oracle     Services,     HCL,         https://www.hcltech.com/oracle-application-framework-
     services/managed-services (last visited February 15, 2020).


                                                   29
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 33 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

C.       Copying JDE Source Code

         67.




         68.     As a preliminary matter, I disagree with Frederiksen-Cross’s characterization of

“source code” because she describes it in abstract, absolute terms, without any nuance and without

appreciating that the term “source code” has different meanings in different contexts.66 In so

doing, her opinions fail to address the specific language and context here, including the Court’s

use of the phrase: “J.D. Edwards software source code”67—i.e., the source code of the J.D.

Edwards software program, and not “source code” generally, or in the abstract. If Frederiksen-

Cross’s definition of “source code” were applied to the Injunction, Rimini would be unable to

support its JDE clients at all, because Rimini would be prohibited from accessing any JDE code,

despite it being common industry knowledge that JDE “Open Code” (defined further below, in

paragraph 69) is specifically designed to be customized and, thus, accessed and modified.

Frederiksen-Cross’s interpretation of the term “source code” in paragraph 5 of the Injunction is

thus inconsistent with industry understanding.

         69.     JDE is an enterprise software program that contains both “Open Code” and “Closed

Code.” The industry understanding has long been that some JDE code, referred to herein as “Open

Code,” is openly accessible to licensees for the specific purpose of licensees (or their third-party

support providers acting on their behalf) modifying, editing, and customizing such code. In fact,

this concept of Open Code is based on JDE software being specifically architected and developed

to be customized through access to Open Code, and indeed, that is how the products have been

marketed, sold, and used by licensees and their third-party support providers, for decades.



65
     Frederiksen-Cross Rep. ¶ 46.
66
     See id. at ¶ 313.
67
     Injunction ¶ 8 (emphasis added).


                                                  30
Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 34 of 45
   Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 35 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

       72.     There are two types of JDE applications: World and EnterpriseOne. Both types

require modifications to “Open Code” to function at their full capacity. In fact, neither application

is designed to be used “as is” straight out of the box; some customization is required at the outset

in order for the applications to be useful. Licensees purchased licenses for these applications

because they were customizable and could be modified to suit licensees’ frequently changing

business requirements. For example, the applications must keep pace with regulatory changes,

changes to company operational strategy, and changes within the licensees’ core business such as

new product types, acquisitions/divestitures, and unique processes that convey some degree of

competitive advantage. “Open Code” within JDE is code that is provided by the licensor in readily

accessible and usable format, particularly in a development environment, including code provided

for access, use, modification, and/or customization via development tools included within the JDE

licensed software (such as Object Management Workbench (“OMW”) within EnterpriseOne),

without any use of reverse engineering, disassembly, decompiling, or other similar methodology.

By contrast, “Closed Code” within JDE is not readily accessible, represents the core architecture

of the software, and requires reverse engineering, disassembly, decompiling, or some other

methodology to discover the underlying code that has been compiled or otherwise made

inaccessible. Use of OMW and other development tools provided by JDE and later by Oracle is

not reverse engineering, disassembly, decompiling, or discovery of the underlying code. In fact,
these JDE development tools are part of the software licensed under the JDE (and later Oracle)

license, and are specifically provided for manipulating, modifying, maintaining, and customizing

the JDE Open Code.

       73.     EnterpriseOne comes with a robust toolkit, the purpose of which is to facilitate the

maintenance, configuration, and updating of code modules. Two tools that are part of the toolkit

for the JDE Configurable Network Computing (“CNC”) architecture are (i) OMW, and (ii) Event

Rule Language. OMW is a tool for accessing, managing, and maintaining control of development,




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     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 36 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

modification, customization, and overall maintenance of Open Code objects.             Event Rule

Language is an easy-to-use tool designed and marketed70 for building Open Code objects not by

writing code71 but through the use of “point and click” icons and wizards (self-directed

applications), where the Open Code objects created can then be accessed, managed, modified,

customized, and maintained via the OMW. One cannot operate or support EnterpriseOne without

utilizing this toolkit to modify, customize, and maintain the Open Code.

         74.     World was originally built for IBM’s midrange family (AS/400, System/38,

System/36, System/34) and now runs on IBM’s Power Systems line of computers. serving the

small-to-medium business (“SMB”) market.           The software allows the licensee to make

modifications and customizations, create reports, and keep up with regulatory changes by easily

accessing files and making modifications to Open Code via a text editor that provides access to a

4GL programming language known as Report Program Generator (“RPG”). RPG originated as a

programming language for generating reports. As such it was designed to be utilized by non-

technical personnel. Over the years, RPG evolved into a robust and complete programming

language, and it is the programming language that JDE (now Oracle) makes available to licensees

so that they can create code for modifying and creating subroutines, handling files, displaying data

and generally manipulating the software. A user cannot operate or support World without

accessing, modifying, customizing, and maintaining the RPG Open Code.

         75.     Both EnterpriseOne and World were developed and designed as platforms that were

intended to be modified, customized, and maintained to meet licensees’ unique business

requirements. The only way to accomplish this is to access, use, modify, and customize the Open

Code.72 Consequently, support of these applications by the licensee or its third-party consultant



70
     Ex. B at 2, 5.
71
     Id. at 5.
72
     OneWorld       Integrated     Toolset    Highlights,    J.D.   Edwards       (1995)     ,
     https://web.archive.org/web/19970417210731/http://www.jdedwards.com/gifs/pdf/oneworldt
     oolset.pdf (“This unique, integrated [OneWorld] toolset maximizes the flexibility of your


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     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 37 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

requires access, use, customization, and modification to the Open Code to meet licensees’ evolving

business requirements. When the original software does not closely meet the licensees’ business

needs, extensive access, use, customization, and modification are required.

        76.     In addition to the encouragement provided in the marketing materials described

above,73 JDE (and later Oracle) expected and actively encouraged potential customers to modify

and customize their JDE software, and encouraged licensees to do so. I personally participated in

many meetings (including in my role as a software implementation consultant) alongside Oracle

or JDE software vendor sales representatives as they told the prospective customer how easy it

was to tailor the applications to suit their business requirements. During these meetings, the sales

representatives would often seek confirmation from my team or me (as third-party software

implementation consultants) that the software was in fact customizable.

        77.     JDE (and later Oracle) also recognized that licensees would engage third parties to

assist in the implementation and customization of the software. In fact, joint customer meetings

with JDE sales personnel and third-party software implementation providers were commonplace.

I attended many such meetings and have first-hand knowledge of the related discussions. These

meetings emphasized that it was the industry practice and understanding of JDE (and later Oracle),

as well as the licensees and consultants, that in the course of providing assistance, these third

parties would access, modify, copy, and compile JDE Open Code. In fact, JDE (and later Oracle)

invested millions of dollars in their “partner” programs, which officially recognized certain third-

party partners as instrumental in supporting JDE licensees. As part of these programs, JDE would

assign executives to manage and support the partners as well as provide technical support to their

     system while masking technical complexity. You can modify applications, balance processing
     loads, run reports, and build graphical user interfaces without writing code.”). OneWorld’s
     toolset enabled licensees to “modify functionality” using: (1) “Event-Driven Objects: Modify
     applications without writing code by attaching reusable business rules to event points within
     programs”; (2) “Programmerless Programming: Business logic drives the modification
     process. Change the business specifications and the toolset automatically regenerates the
     appropriate object code”; and (3) “Integrated Change Management: Make your modifications
     with the same toolset used to build the applications.” Id.
73
     See id.


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     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 38 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

implementation projects when needed.         One example is ERP Suites,74 which has been an

Oracle/JDE partner for over 20 years and has provided JDE implementation, customization, and

support services over the years, and continues to publicly market themselves as such.

        78.     JDE (and later Oracle) also supported and encouraged joint marketing initiatives

and campaigns between Oracle and such third-party partners that were designed to further

penetrate the market and demonstrate that the customizations the potential customer would need

could be successfully designed and implemented by the third-party services partner.

                a.       For example, Exhibit C is a campaign that I developed to promote JDE work

                while I was at MarketSphere Consulting. This campaign was developed with

                support from Oracle and also involved another technology partner (DSI) whose

                solution could be integrated with JDE as a customization to enhance its business

                value.

                b.       Exhibit D is an email to Oracle regarding a planned joint Webcast to

                promote JDE services together.

        79.     For decades, licensees heavily depended on third-party firms and independent,

individual third-party consultants to implement, modify, and customize their JDE software. This

reliance on third parties necessarily included accessing, modifying, copying, and maintaining JDE

Open Code.

        80.     For example, in the early 1980s, after Congress enacted the Crude Oil Windfall

Profit Tax, I was assigned to a small West Texas-based oil company and tasked with customizing

their JDE Financial System to accommodate the application of the tax to their unique business

requirements. JDE was not interested in creating (and did not create) a one-off customization to

accommodate this oil company’s unique requirements for accounting for this tax, and the client

engaged my firm at the time, Arthur Andersen, to develop and test these customizations to its JDE

software, which required accessing, modifying, copying, and compiling the JDE Open Code.



74
     ERP Suites, http://www.erpsuites.com/ (last visited Sept. 2, 2019).


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  Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 39 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

       81.    Likewise, during my time at MarketSphere Consulting, we had many engagements

that involved the implementation and customization of JDE EnterpriseOne and World, including

the following examples from 2007 to 2010:

              a.     JDE Implementation, Biodiesel Producer. As the client continued to grow,

              it realized it had outgrown the limited functionality of its highly manual Excel-

              based system and sought a software solution that would not only sustain current

              functionality, but would offer more features and enable greater opportunity for

              improved business processes. We partnered with the company to perform a

              rigorous software selection and determined that JDE EnterpriseOne, with some

              custom add-ons, would best fit the client’s needs. Our customization efforts

              included adding separate screens with new data fields (or adding new data fields to

              existing screens), coding the logic required to manipulate the new and existing data

              fields, and creating the table structures to house the new data and create new

              reports. As in most instances, these customizations and modifications were made

              utilizing the CNC architecture and the EnterpriseOne developer toolkit. We used

              the OMW to manage the code package build process (which necessarily included

              accessing, modifying, copying, and compiling JDE Open Code) and to later test

              and deploy the code packages. This client had several unique business needs. First,

              it needed its software to handle sophisticated requirements for the multi-modal

              shipment of biodiesel, which involved allowing the user to assess multiple possible

              shipping options, e.g., least cost, preferred routes, percent by carrier, etc. Second,

              the client also required customizations related to the automation of freight vouchers

              and payables, as well as seamless integration with another application, Oracle

              Transportation Management. Key benefits realized by the client included enriched

              planning and tracking, increased automation, and enhanced reconciliation.

              b.     JDE Implementation, International Pet Food Manufacturer. The client

              required replacement of some legacy accounting and supply chain systems with


                                                 36
Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 40 of 45
Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 41 of 45
     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 42 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

experience, it is widely understood in the industry that creation of RAM copies of JDE software

by a licensee, or by a licensee’s third-party support provider, is a permissible, and, indeed,

necessary use of JDE software. In fact, the industry understands the creation of RAM copies to be

a necessary function of the software itself, and to occur any time the software is operated. For this

reason,

                                                                would effectively preclude Rimini

from providing support for JDE altogether because it is impossible to support JDE clients without

loading their software “into system memory” (i.e., without making RAM copies). But my

understanding, as discussed above in paragraphs 24 to 25, is that third-party support is permitted.

And the fact that the Injunction limits the type of support Rimini can provide—but does not

prohibit it altogether—is consistent with my understanding and experience in the industry that

third-party support is widely accepted. It is my opinion therefore that the industry would not

understand paragraph 8 of the Injunction to prohibit in-memory copies of JDE software.

          85.   Frederiksen-Cross’s broad interpretation of paragraph 8 of the Injunction would

also create internal conflicts with other provisions of the Injunction covering Rimini’s JDE support

processes, effectively rendering them superfluous (i.e., paragraphs 7, and 9–10). This is because

RAM copies are created any time someone uses JDE software—because to run the software, it

must be loaded “into computer memory” (i.e., creating RAM copies); this is true whether someone

is loading the software to provide support, or simply to run the software. If such a broad

interpretation of the Injunction were accurate, there would be no need for the other provisions of

the Injunction with respect to JDE. In other words, under Frederiksen-Cross’s interpretation,

because Rimini would violate the Injunction simply by loading JDE software, without doing

anything further, there would be no need for the Court to have included the other provisions that

restrict (but do not prohibit) the manner in which Rimini may provide third-party support for JDE,

which third-party support is, as noted, common and widely accepted in the industry



77
     See id.


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     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 43 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

D.       Actions Involving Oracle Database

         86.




         87.     I disagree with Frederiksen-Cross’s interpretation of paragraph 15 of the Injunction

as it is inconsistent with industry understanding. It is my experience and understanding, based on

decades working for and with Oracle Database licensees, as well as the materials I have reviewed

in this proceeding and in Rimini II, that the industry would understand a prohibition on

“reproduction” to pertain to the creation of unlicensed instances of Oracle Database, and not the

creation of in-memory (i.e., RAM) copies. I understand this opinion is also consistent with the

Court’s order in Rimini I, which found that impermissible copying occurred when Rimini “built

[unlicensed] development, or non-production, environments for a number of Rimini customers

using Oracle Database.”80

         88.     Oracle Database, also known as Oracle RDBMS, is relational database software,

and is a database designed to support a variety of ERP software applications (both Oracle

applications and other vendors’ applications, such as SAP). It is common industry practice for



78
     Id. at ¶ 358.
79
     See id.
80
     See Oracle USA, Inc. v. Rimini Street, Inc. (“Rimini I”), 879 F.3d 948, 960 (9th Cir. 2018).


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     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 44 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

Oracle licensees (and licensees of other vendors’ ERP software) to utilize Oracle Database as an

engine to store and manage their enterprise data. The application layer and database layer rely on

each other and work together. With every transaction that an ERP application executes, the

application relies on SQL database commands to retrieve and write data to the database. In the

case of Oracle Database, the ERP software application layer relies on Oracle’s PL/SQL database

commands; this is how the application interfaces with the database. It is common industry practice,

and widely understood in the industry, that licensees of ERP applications that also license Oracle

Database, may run both systems concurrently without violating any provisions of their licenses.

In fact it is industry understanding that these systems are designed to operate together.

        89.    Based on my review of records in Rimini I, I understand that Oracle did not contend

that RAM copies of Oracle Database constituted copyright infringement. Instead, I understand

that Oracle’s position in Rimini I was that Rimini could not host on its own servers (i.e., “locally

host”) Oracle Database environments downloaded from Oracle’s websites without a license. I also

understand that Oracle’s position in Rimini I was that Rimini could not make copies of “locally

hosted” environments of Oracle Database or use “locally hosted” environments to develop

software updates that were distributed to multiple clients.81 Frederiksen-Cross does not offer any

opinions in her report on these positions concerning local hosting of Oracle Database that Oracle

took in Rimini I.82

        90.    It is understood in the industry that Oracle Database is one of the most popular and

widely used relational database software products available on the market, and a large segment of

Oracle Database licensees receive support for their ERP software applications that run on Oracle

Database from third-party providers. To my knowledge, Oracle has never claimed (before this

post-trial proceeding) that these third-party support providers infringe Oracle’s intellectual

property rights in its Oracle Database software by supporting ERP applications that run on Oracle



81
     See generally Rimini I, ECF No. 417 (Oracle Motion for Summary Judgment).
82
     See Frederiksen-Cross Rep. ¶¶ 358–359.


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     Case 2:10-cv-00106-LRH-VCF Document 1383-3 Filed 07/31/20 Page 45 of 45
SUBJECT TO PROTECTIVE ORDER
HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

Database. Indeed, Oracle approved of Spinnaker’s support of JDE, which operates on Oracle

Database, as discussed above.

        91.     Further, in my experience, the industry does not understand the creation of in-

memory copies (i.e., the creation of RAM copies) of Oracle Database to be in conflict with

Oracle’s software licenses, nor does the industry consider the creation of RAM copies to otherwise

violate Oracle’s intellectual property rights. To the contrary, creation of RAM copies is widely

considered to be a necessary function of a user’s (or software support provider’s) use of the

software. This is because any time a user of Oracle Database loads the software (whether to

support the software or simply to operate it), RAM copies are made. In other words, the software

cannot function without creating RAM copies, and the creation of RAM copies is understood in

the industry to be a necessary function of Oracle Database software. Indeed, in the Ninth Circuit’s

opinion in the Rimini I appeal, the court acknowledged that “the very work of maintaining

customized software requires copying the software.”83

        92.     Frederiksen-Cross’s interpretation of the Injunction with respect to Oracle

Database is so broad that it would not only prohibit Rimini from supporting those Oracle product

lines, it would also prohibit Rimini from supporting clients with software that was not at issue in

Rimini I, including SAP and any other ERP application layer for which Oracle Database is the

underlying database. Again, as discussed above at paragraphs 24 to 25, I understand that third-

party support is permitted. And the fact that the Injunction limits the type of support Rimini can

provide—but does not prohibit it altogether—is consistent with my understanding and experience

in the industry that third-party support is widely accepted. It is my opinion therefore that the

industry would not understand paragraph 15 of the Injunction to prohibit in-memory copies of

Oracle Database software.




83
     Rimini I, 879 F.3d at 956.


                                                  42
